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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


      MAVERICK MEDIA GROUP, INC., et al.

                      Plaintiffs,

      v.                                                           Case No. 8:02-cv-947-T-23TBM

      HILLSBOROUGH COUNTY, FLORIDA,

                   Defendant.
      ______________________________________/


                                    REPORT & RECOMMENDATION

               THIS MATTER is before the court upon referral from the Honorable Steven D.

      Merryday for a Report and Recommendation on the parties’ cross-motions for summary

      judgment (Docs. 91-92). A telephone status conference was conducted on November 10,

      2005, to address the import of the Eleventh Circuit’s recent decision to vacate the panel’s

      opinion in Tanner Adver. Group, L.L.C. v. Fayette County, Ga., 411 F.3d 1272 (11th Cir.

      2005) (hereinafter “Tanner I”), and rehear the cause en banc. See Tanner Adver. Group,

      L.L.C. v. Fayette County, Ga., No. 04-13210, 2005 WL 2850068 (11th Cir. Nov. 1, 2005)

      (hereinafter “Tanner II”). For the reasons that follow, it is recommended that the district

      court stay the proceedings and administratively close the file pending the en banc decision in

      Tanner II.



                                                     I.

               This cause has a protracted history. Plaintiff Maverick Media Group, Inc.,

      (hereinafter “Maverick”) is an outdoor sign company. On May 30, 2002, it brought suit

      against Hillsborough County, Florida (hereinafter the “County”) alleging that the County’s

      sign regulations were unconstitutional under the First, Fifth, and Fourteenth Amendments of
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      the United States Constitution, both facially and as applied to Maverick.1 (Doc. 1). The

      County sought to dismiss Maverick’s Complaint, see (Doc. 5), and both parties moved for

      summary judgment, see (Docs. 18, 25). Those matters were referred to the undersigned in

      July 2003. For the next several months, negotiations were underway and the parties

      represented they would likely settle. Thereafter, settlement negotiations fell apart.

                 On May 13, 2004, the undersigned recommended that the County’s motion to

      dismiss be denied as to all counts except for one. (Doc. 55). In doing so, the undersigned

      declined to follow the approach to standing taken in Granite State Outdoor Adver., Inc. v.

      City of Clearwater, Fla., 351 F.3d 1112, 116-18 (11th Cir. 2003) (hereinafter “Clearwater”)

      (holding that the district court misapplied the overbreadth doctrine by granting the plaintiff

      sign company standing to challenge provisions of the ordinance that did not give rise to an

      injury in fact). (Doc. 55 at 14). On November 15, 2004, the district court adopted the Report

      and Recommendation in part, ruling that Maverick could challenge the effect on both

      commercial and non-commercial speech of the sign regulation’s provisions forbidding off-site

      signs and billboards (as asserted in Counts Three, Four, Five, Eight, and Nine of the


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               By its initial eleven-count Complaint, Maverick asserted the County’s sign
      regulations were unconstitutional and invalid because they: (1) did not limit the time during
      which officials must grant or deny a permit; (2) gave officials limitless discretion in deciding
      whether a sign permit will be granted or denied; (3) contained certain provisions that
      constitute unreasonable, overbroad, and unduly burdensome restrictions of the freedom to
      speak freely; (4) permitted officials to regulate both commercial and noncommercial speech
      in the absence of any rationale or findings in support thereof; (5) restricted or prohibited far
      more speech than could ever be justified by their stated purpose or any other legitimate
      governmental objectives; (6) included numerous sections that favor commercial speech over
      noncommercial speech; (7) included numerous sections that regulated and abridged the
      content of noncommercial speech; (8) contained several sections that favored the commercial
      speech of certain businesses while prohibiting other legal and truthful commercial
      information; (9) denied Maverick equal protection under the law; (10) gave officials
      discretion to determine the content of messages by allowing the officials to add permitting
      requirements on a case-by-case basis without regard for the reasonableness of such
      requirements; and (11) operated to render Maverick’s property valueless under the Fifth
      Amendment.

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      Complaint), but did not have standing to bring an overbreadth challenge in light of the

      Eleventh Circuit’s holding in Clearwater.2 (Doc. 83). That same month, the County enacted

      new sign regulations. (Doc. 92, Exh. 3). On December 3, 2004, Maverick, along with its

      owners (hereinafter “Plaintiffs”), filed an Amended Complaint alleging that the old sign

      regulations were unconstitutional under the First and Fourteenth Amendments of the United

      States Constitution, both facially and as applied to Plaintiffs.3 (Doc. 84). In April 2005, the

      parties filed their instant cross motions for summary judgment (Docs. 91-92). On June 9,

      2005, the Eleventh Circuit issued its opinion in Tanner I. See Tanner I, 411 F.3d at 1275-77

      (disregarding, under the “prior precedent” or “earliest case” rule, the narrow approach to the

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              Thus, the district court (1) dismissed without prejudice Maverick’s claims
      challenging the regulation’s permitting procedures (Counts One, Two, and Ten) and its Fifth
      Amendment takings claim (Count Eleven), and (2) dismissed Maverick’s overbreadth
      challenges to the regulation (Counts Six and Seven). (Doc. 83 at 5).
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               In its twelve-count Amended Complaint, Plaintiffs allege the following: (1) the
      ordinance is per se unconstitutional because it favors commercial messages over
      noncommercial messages, particularly as related to off site signs; (2) the ordinance restricts
      signs’ display area size, height, number, time of display, and location without regard for the
      free speech interests involved and these restrictions are not narrowly tailored and do not leave
      open ample alternatives to advertising signs; (3) the ordinance’s permit requirements lack
      necessary procedural safeguards such as circumscribing the time in which government
      officials must grant or deny applications; (4) the ordinance grants government officials
      virtually limitless discretion in deciding whether a sign will be allowed or not; (5) several
      sections of the ordinance restrict fundamental methods of speech and constitute unreasonable,
      overbroad, and unduly burdensome restrictions on the freedom of citizens to speak freely;
      (6) the ordinance is constitutionally invalid because it permits government officials to
      regulate commercial and noncommercial speech without including a rationale or findings to
      support its prohibition of speech; (7) the ordinance is constitutionally invalid because it
      prohibits far more speech than can be justified by its stated purpose or any other legitimate
      governmental objectives; (8) the ordinance’s prohibition of noncommercial off-site or
      billboard signs fails strict scrutiny; (9) several sections of the ordinance are constitutionally
      invalid because they favor the commercial speech of certain businesses about certain
      commercial topics while prohibiting other legal and truthful commercial information; (10) the
      ordinance impermissibly allows county officials to add permitting requirements on a case-by-
      case basis; (11) the ordinance violates Maverick’s right to equal protection by allowing the
      world’s two largest outdoor advertising conglomerates to erect signs identical to those for
      which Maverick has unsuccessfully sought to erect; and (12) certain provisions of the
      ordinance relating to criminal and civil liability are vague and ambiguous and thus violate due
      process. (Doc. 84).

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      overbreadth doctrine employed by the court in Clearwater and holding that a plaintiff sign

      company may challenge an ordinance in its entirety where the plaintiff suffers an injury in

      fact as to a particular provision of the ordinance).



                                                       II.

               As indicated above, a status conference was held to address the impact of Tanner II

      on the parties’ cross motions for summary judgment. Plaintiffs’ counsel argued that the

      decision by the Eleventh Circuit to vacate Tanner I does not warrant a stay. In particular, he

      urged that there was no reason to delay the court’s recommendations on the parties’ cross

      motions for summary judgment because (1) the district court already has applied Clearwater

      to Plaintiffs’ case, which is the “worst case” scenario, (2) viable counts still exist in the

      absence of standing to bring an overbreadth challenge, i.e., the County’s delay in processing

      Plaintiffs’ permits, and (3) the facts of this case differ significantly from those in Clearwater.

      Plaintiffs’ counsel conceded, however, that a decision favorable to Plaintiffs in Tanner II

      would result in the filing of another amended complaint with the reassertion of certain claims.

      When asked by the court whether he would recommend to his clients that they waive such

      additional claims and agree to proceed forward on the existing claims, counsel indicated he

      would not. Thus, in the event of a favorable result, the court might well have to address the

      legals issues twice absent a stay. The County does not oppose the entry of a stay. While the

      Eleventh Circuit has not issued a briefing schedule or set the case for oral arguments, counsel

      for both parties were of the opinion that oral arguments would likely be scheduled in February

      2006.

               Upon consideration and weighing the concerns of all involved, the undersigned

      concludes that judicial economy weighs in favor of staying this action. See Ortega Trujillo v.



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      Conover & Co. Communications, Inc., 221 F.3d 1262, 1264 (11th Cir. 2000); Itel Corp. v.

      M/S Victoria U (Ex Pishtaz Iran), 710 F.2d 199, 202-03 (5th Cir. 1983); Hines v. D’Artois,

      531 F.2d 726, 733 (5th Cir. 1976). While the court is mindful of the Plaintiffs’ desire to

      obtain an expeditious ruling on the pending motions given the lengthy history of the case, the

      short delay in awaiting the en banc decision may in fact be the quickest route to concluding

      this litigation.



                                                     III.

                Accordingly, it is RECOMMENDED that the court STAY this action pending the

      Eleventh Circuit’s en banc decision in Tanner II and direct the Clerk to administratively close

      the file subject to reopening upon request of either party subsequent to the Eleventh Circuit’s

      en banc opinion.

                Done and Ordered in Tampa, Florida, this 15th day of November 2005.




                                         NOTICE TO PARTIES
                Failure to file written objections to the proposed findings and recommendations
      contained in this report within ten days from the date of its service shall bar an aggrieved
      party from attacking the factual findings on appeal and a de novo determination by a district
      judge. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72; M.D. Fla. R. 6.02; see also Fed. R. Civ. P. 6
      and M.D. Fla. R. 4.20.

      Copies furnished to:
      United States District Judge Steven D. Merryday
      Counsel of Record



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